      Case 18-33363        Doc 22      Filed 12/26/18 Entered 12/26/18 11:12:04                 Desc Notice to
                                            File Claims Page 1 of 1
                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF MINNESOTA



                                                            Case No.: 18−33363 − WJF
                                                            Chapter: 7

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):

   Peoples Electric Co. Inc.
   aka Peoples Contractors, aka Peoples
   Electrical Contractors, aka System One
   Control, aka Peoples Communication
   Systems

   277 East Fillmore Avenue
   Saint Paul, MN 55107

   Social security/Taxpayer ID/Employer
   ID/Other Nos.: 41−0699224

                                            NOTICE TO FILE CLAIMS



Payment of a dividend appears possible in this case. The previous notice stated that no claims may be filed.
Accordingly, pursuant to Bankruptcy Rule 3002(c)(5), creditors are hereby notified that proofs of claim must be filed
by 4/1/19 , or, for governmental units, within 180 days from the date of the Order for Relief or 4/1/19 , whichever is
later. Proofs of claim can be filed electronically on the court's website: www.mnb.uscourts.gov . No login or
password is required. Alternatively, a Proof of Claim form (Official Form 410) can be obtained at the same website
or at any bankruptcy clerk's office.


Dated: 12/26/18

                                                            Lori Vosejpka
                                                            Clerk, U.S. Bankruptcy Court
                                                            200 Warren E Burger Federal Building and
                                                            US Courthouse
                                                            316 N Robert St
                                                            St Paul, MN 55101


                                                            BY: admin
                                                            Deputy Clerk

mnbflclm 10/14
